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EXHIBIT C
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RHODE ISLAND DEPARTMENT OF CORRECTIONS

 

 

 

 

 

 

POLICY AND PROCEDURE
POLICY NUMBER: | EFFECTIVE DATE:
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SUPERCEDES: DIRECTOR: Please use BLUE ink.
15.11-4 DOC Woe ee
23.01-3 DOC fe Spe
SECTION: SUBJECT: CONDITIONS OF
SPECIAL MANAGEMENT CONFINEMENT

 

 

AUTHORITY: Rhode Island General Laws (RIGL) § 42-56-10 (22), Powers of the
director

 

REFERENCES: ACA Standard 4-4259, written segregation policy; 4-4250,
immediate segregation; 4-4251, segregation as PC; 4-4258, daily visits from senior
supervisor; 4-4268 access to legal materials; 4-4269, access to reading materials; the
most recent version of RIDOC Policies 9.05 DOC, Institutional Log Book System;
9.14 DOC, Detecting and Confiscating Contraband on or in the Possession of
Inmates-Detainees [Including Frisk, Strip and Body Cavity Searches]; 11.01 DOC,
Code of Inmate Discipline; 13.03 DOC; Access to the Courts and Legal Materials;
13.10 DOC, Inmate Grievance Procedure; 15.01 DOC, Classification Process; 18.43
DOC, Health Evaluation of Inmates in Administrative/Disciplinary Confinement;
24.01 DOC, Inmate Mail

INMATE / PUBLIC ACCESS? X YES

AVAILABLE IN SPANISH? X NO

 

 

 

 

 

 

 

 

 

I. PURPOSE:

To define the different commitment categories that inmates may be classified to or placed
on at the Rhode Island Department of Corrections (RIDOC), and to establish Department-
wide standards and procedures for the monitoring and supervision of those inmates.

IL. POLICY:

A. Inmates are classified or placed in the least restrictive status, for the shortest time
period possible, while maintaining the safety and security of the institutions for the
inmates, staff and community.

B. Inmates are provided with programming opportunities designed to help them
become productive and law-abiding members of the community.
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Ul. DEFINITIONS:

A. Case Management Team - a collaborative process of assessment, planning and
interventions to address an individual's identified needs through communication
and coordination of available resources aimed at reducing recidivism.

B. General Population - Inmates classified to maximum, medium, minimum with no
restrictions placed on activities.

C. Transitional Confinement (formerly Close Confinement) - These inmates are
classified to this status to provide them the supervision and programming
required to prepare for their return to General Population from Restrictive
Housing.

D. Administrative Restrictive Status (ARS) - Inmates who, by their pattern of conduct
require close restrictive movement and closer supervision than general
population inmates, will be placed on Administrative Restrictive Status by a
Warden/designee. This status can be utilized to transition back into General
Population. The Warden/Designee of each facility is responsible for the
development of a Standard Operation Procedure (SOP) specific to their facility.
The SOP should outline items allowed in cell, out-of-cell time and program
requirements.

E. Restrictive Housing - Any type of detention that involves removal of an inmate
from general population, voluntarily or involuntarily; placement in a locked room
or cell, whether alone or with another inmate; and the inability to leave the room or
cell for the vast majority of the day, typically 22 hours or more. The following are
the types of Restrictive Housing utilized at the RIDOC:

1. Administrative Confinement (Sentenced inmates only) - These inmates are
classified as such when their pattern of conduct:

e Demonstrates chronic inability to adjust to the general population;

e Indicates maximum personal protection is required;

e Constitutes a serious threat to the Adult Correctional Institutions (ACI);
¢ Is potentially dangerous to him/herself or others;

e Poses a serious escape risk;
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e Indicates that an immediate mental health evaluation is necessary, and
the inmate cannot remain in general population pending that evaluation;
or

e Indicates an enemy issue or has been charged with a_ highly
publicized/ particularly heinous act (e.g., high profile murder, sexual
assault or murder of a minor), and cannot be held in general population
while the investigation into potential placement in Protective Custody is
being conducted.

pm Administrative Detention (Awaiting Trial inmates only) - These inmates are
placed as such when their pattern of conduct

EXCEPTION: Sentenced inmates may be placed in Administrative
Detention for investigative purposes only. At the conclusion of the
investigation, the sentenced inmate shall return to his/her classification.

e Demonstrates chronic inability to adjust to general population;

e Indicates maximum personal protection is required;

e Constitutes a serious threat to the Adult Correctional Institutions (ACI);

e Is potentially dangerous to him/herself or others;

e Poses a serious escape risk;

e Indicates that an immediate mental health evaluation is necessary, and
the inmate cannot remain in general population pending that evaluation;

e Is under investigation for violation of facility rules or the law; or

e Indicates an enemy issue or has been charged with a_ highly
publicized/particularly heinous act (e.g., high profile murder, sexual
assault or murder of a minor) and cannot be held in general population
while the investigation into potential placement in Protective Custody is
being conducted.

NOTE: Awaiting Trial inmates are placed in Administrative Detention and
sentenced inmates are classified to Administrative Confinement only upon
consultation with RIDOC’s Director of Behavioral Health or psychiatrist.
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3. Disciplinary Confinement - A housing location available to RIDOC’s facility
administrators to confine a detainee/inmate as a result of sanctions based
on the most recent version of RIDOC Policy 11.01 DOC, Code of Inmate
Discipline, or when other confinement would pose a serious threat to life,

property, self, staff, other inmates, or the security or orderly running of the
facility.

F. Administrative Transfer - An inmate is administratively transferred when s/he is
temporarily removed from his/her classification/category and placed in another
facility / unit for investigative purposes.

G, Residential Treatment Unit (RTU) - Inmates placed in the RTU have serious,
persistent mental illness (SPMI). Behavioral Health Services staff determine which
inmates shall be placed in the RTU for treatment. The RTU is housed at High
Security; however, inmates remain classified to their appropriate security level.

IV. PROCEDURES:
A. General Population

Inmates within this category shall be eligible for work assignments, educational,
rehabilitative and recreational programming as available. Inmates shall be
afforded all privileges and housing assignments commensurate with their assigned
security level,

B. Minimum Privileges

The following are minimum privileges for each category description, unless
otherwise noted, the minimum privileges are the same as general population;
however, the facility Warden may alter the minimum privileges as deemed
appropriate, and with the approval of the Assistant Director of Institutions and
Operations (ADIO).

For a list of items inmates are authorized to have in their cell for each category,
please see Attachment 1, Authorized Items in Cells, at the end of this policy.

iL. ADMISSION / NOTIFICATION

Inmates will receive a uniform specific to the inmate’s status, as determined
by the facility Warden/ designee.

a. Administrative Restrictive Status (ARS)
 

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(1)

(2)

Facility staff may make a recommendation, in writing, for
closer supervision to the facility Warden/ designee, based on
his/her observations of the inmate’s conduct.

The inmate shall be provided written notice within five (5)
days of being placed on status. The notification shall include
the reason for placement on ARS status, the length of
restriction, information on participation in programming, as
well as, the appeal process.

b. Transitional Confinement

Classification determination made at a Classification Board Hearing,
in accordance with the most recent version of RIDOC Policy 15.01
DOC, Classification Process.

C, Disciplinary Confinement

(1)

(2)

A detainee/inmate may be transferred from general
population to Disciplinary Confinement when s/he has
received a Disciplinary Confinement sanction as a result of the
process outlined in the most recent version of RIDOC Policy
11.01 DOC, Code of Inmate Discipline.

In emergency situations, any staff member, with the approval
of the Shift Commander, may temporarily place a
detainee/inmate in Disciplinary Confinement:

(a) to control his/her behavior;

(b) to safeguard the detainee/inmate from himself/herself,
other detainees/inmates, custodial staff, civilian
employees/ facilitators or members of the general
public until formal authorization is received from the
Warden/ designee;

(c) _ if the detainee/inmate poses an escape risk or threat to
the security of the facility or institution; and/or

(d) at the request of the Special Investigation Unit (SIU),
Office of Inspections (Ol), Office of the Attorney
General or the Rhode Island State Police (RISP) due to
an ongoing investigation.
 

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(3) All inmates/detainees are strip searched upon _ initial
commitment, when they enter and leave Disciplinary
Confinement, and when escorted to and from their destination
(See the most recent version of RIDOC Policy 9.14 DOC,
Detecting and Confiscating Contraband on or _in_ the
Possession of Inmates-Detainees [Including Frisk, Strip and

Body Cavity Searches]).

d. Administrative Confinement

This classification determination is made at Classification Board
Hearings, in accordance with the most recent version of RIDOC
Policy 15.01 DOC, Classification Process.

e, Administrative Detention

(1) Facility staff may make a recommendation, in writing, for
closer supervision to the facility Warden/ designee, based
on the inmate’s conduct, enemy issues, law enforcement
requests and/or threats to the safety and security of the
institution.

(2) The detainee receives a completed Administrative Transfer
Notice within twenty-four (24) hours of removal from
general population. The form includes information on the
detainee’s right to object to the transfer to Administrative
Detention via the Inmate Grievance Procedure (see the
most recent version of RIDOC Policy 13.10 DOC, Inmate
Grievance Procedure).

f. Administrative Transfer

(1) Inmates who are administratively transferred from their
classification/category are given an Administrative
Transfer Notice.

(2) Copies of Administrative Transfer Notices are distributed
in accordance with the distribution list on the bottom of
the form.

g. Residential Treatment Unit

(1) Inmates with SPMI, who are currently in restrictive housing,
are identified by Behavioral Health Services staff for
 

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placement in the RTU. If identified as such inmates may not
opt out of program participation.

(2) Inmates with SPMI who are identified by Behavioral Health
Services staff as a candidate for the RTU, but who are not
currently in restrictive housing, may choose not to participate
in the program, unless Behavioral Health Services staff
determines placement is warranted due to the inmate being a
danger to him/herself or others.

(3) Behavioral Health Services staff shall document an inmate’s
placement in the RTU in the Electronic Medical Record (EMR),
and notify security staff.

(4) | Placement into the RTU shall be documented in INFACTS by
the Count Board Officer upon transfer.

NOTE: Inmates placed in the RTU shall attend their regularly
scheduled classification hearing. Changes to classification will not
affect their RTU placement.
2. HOUSING
a. Administrative Restrictive Status (ARS)

Same as General Population, and in accordance with their assigned
security.

b. Transitional Confinement

 

Housed at High Security, or at a facility as determined by the
Director, ADIO and/or Associate Director of Classification.

Cc. Disciplinary Confinement

The facility Warden determines the housing assignment utilized for
inmates serving Disciplinary Confinement.

d. Administrative Confinement

Housed at High Security, or at a facility as determined by the
Director, ADIO and/or Associate Director of Classification.
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e. Administrative Detention

Housed at Intake Service Center and Women’s Facility, or at a facility
as determined by the Director and/or ADIO.

f. Administrative Transfer
Temporarily placed in the facility / unit as determined by SIU/OI.

g. Residential Treatment Unit

 

Inmates are housed at High Security in a housing unit determined by
the Warden/ designee.

3 RECREATION / EDUCATION AND PROGRAMMING

Out-of-cell time outlined below is in addition to other out-of-cell time (e.¢.,
meals, showering, etc.)

a. Administrative Restrictive Status (ARS)

(1) Minimum of two (2) hours per day out-of-cell recreation time
with General Population inmates.

(2) In addition, inmates may participate weekly in one (1)
program, and one (1) religious service, with the approval of
the Deputy Warden/ designee.

b. Transitional Confinement

(1) Minimum of two (2) hours per day out-of-cell, five (5) days
per week (weekends and holidays excluded).

(2) In addition, participation in education and programming as
determined by the facility Warden/ designee.

ei Disciplinary Confinement

(1) | Minimum of one (1) hour per day out-of-cell, five (5) days per
week (weekends and holidays excluded).

(2) Recreation will commence on the next scheduled day of
recreation. (i.e. inmate transferred on Tuesday morning, s/he
is offered recreation on Wednesday.)
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NOTE: In the event that the transferred inmate has been
determined to be a threat to the staff, facility or his/her safety
recreation may be curtailed by the Shift Commander. This
must be documented and the Warden/Deputy must be
notified.

(3) In addition, participation in education and programming as
determined by the facility Warden/ designee.

d. Administrative Confinement/ Detention

(1) | Minimum of one (1) hour per day out-of-cell, five (5) days per
week (weekends and holidays excluded).

(2) In addition, participation in education and programming as
determined by the facility Warden/ designee.

e. Administrative Transfer
Consistent with category to which the inmate was transferred.
£: Residential Treatment Unit

RIDOC’s goal is to achieve a “10/10 Model” [ten (10) hours
unstructured and ten (10) hours structured] for out-of-cell time;
however, reaching this goal requires inmates’ cooperation and
participation,

NOTE: The recreation schedule shall be determined by the area
supervisor.

For more information on Recreation, please see Section IV.D. of this
policy.

4. MEDICAL NEEDS

All inmate health, mental health and dental needs are managed the same as
general population, including but not limited to, sick call, keep on person
medication (KOP), and access to physicians/dentists. All medical
emergencies are attended to immediately.

NOTE: The facility Warden may restrict KOP medications to inmates in
Restrictive Housing, as deemed appropriate. Inmates in the RTU shall not
be allowed to have KOP medications.
 

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a. Health Care

Nursing staff shall “trip” (do a rotation of) the Restrictive Housing
units/areas daily.

For more information please refer to the most recent version of
RIDOC Policy 1843 DOC, Health Evaluation of inmates _in
Administrative / Disciplinary Confinement.

b. Mental Health

(1) | Behavioral Health Services staff will interview any inmate
that has completed thirty (80) days in Disciplinary
Confinement, or sooner if the inmates’ behavior indicates a
need.

(2) If Disciplinary Confinement continues beyond thirty (30)
days, Behavioral Health Services staff will assess the inmate
at least every thirty (30) days thereafter.

(3) | Behavioral Health Services staff shall meet with inmates
who have acute or chronic mental illness, are currently
receiving mental health treatment or who have mental
health histories as clinically appropriate.

(4) Mental health staff will review in INFACTS and _ the
Electronic Medical Record (EMR), the records of all inmates
placed in Disciplinary Confinement and Restrictive Housing.

For more information please refer to the most recent version of 18.43
DOC; Health Evaluation of Inmates in Administrative or Disciplinary
Confinement

5. PERSONAL HYGIENE

a. Inmates receive a minimum of three (3) showers per week, daily
whenever possible, excluding weekends and holidays.

b. Laundry (including uniforms and inmate bedding) is
exchanged/ washed a minimum of once per week.
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6. RESTRAINTS

a. Administrative Restrictive Status (ARS)
None.

b. Transitional Confinement
None.

ee Disciplinary Confinement
Handcuffed in rear when leaving housing unit.
NOTE: Inmates shall be handcuffed in front when being escorted
down stairs, and may be handcuffed in front when being escorted to
showers.

d. Administrative Confinement/ Detention

Inmates are handcuffed in rear and shackled when leaving housing
unit.

NOTE: Inmates shall be handcuffed in front when being escorted
down stairs, and may be handcuffed in front when being escorted to
showers.

e. Administrative Transfer
Consistent with the category to which the inmate was transferred.
z Residential Treatment Unit

Structured Out-of-Cell Time: Inmates are restrained when out-of-
cell for treatment sessions, education and/or programming, as
determined by security staff, in consultation with Behavioral Health
Services staff.

Unstructured Out-of-Cell Time: Inmates are restrained as
determined by security staff, in consultation with Behavioral Health
Services staff.
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NOTE: If a conflict arises between security and Behavioral Health
Services staff on restraint decisions in the RTU, the situation will be
resolved by the Shift Commander.

as VISITATION (not including legal or professional visits)

a.

Administrative Restrictive Status (ARS)

One (1) visit per week, based on facility schedule.
Transitional Confinement

One (1) visit per week, based on facility schedule.
Disciplinary Confinement

None.

Administrative Confinement/ Detention

One (1) visit per week, based on facility schedule.

Administrative Transfer

 

Consistent with the category into which the inmate was transferred.
Residential Treatment Unit
One (1) visit per week, or as determined by Behavioral Health

Services staff, on a case-by-case basis, in consultation with the
Warden/ designee.

8. PHONE CALLS (not including legal phone calls)

a.

Administrative Restrictive Status (ARS)
Inmates may place phone calls while on recreation.
Transitional Confinement

Inmates may place two (2) phone calls per week.
 

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C. Disciplinary Confinement
(1) Upon the inmate’s transfer to Disciplinary Confinement,
the inmate will be afforded a brief phone call to his/her

immediate family to apprise them of his/her change in
status.

NOTE: If the inmate is exhibiting violent or problematic
behavior, this phone call privilege shall wait until the
inmate no longer exhibits such behavior.

(2) After completing thirty (30) days of Disciplinary
Confinement, with no bookings, inmates can receive one

(1), 10-minute phone call to immediate family members.

(a) Inmates shall request the call through the area
Lieutenant.

(b) Phone calls shall be provided on the 3-11 shift.
d. Administrative Confinement/ Detention
Inmates may place one (1) phone call per week.
e. Administrative Transfer
Consistent with the category to which the inmate was transferred.

f. Residential Treatment Unit

 

Determined by Behavioral Health Services staff, on a case-by-case
basis in consultation with the Warden/ designee.

a: ACCESS TO LEGAL MATERIALS AND ASSISTANCE

Legal assistance is available upon request, using a Request Form. Interviews
with law clerks are conducted in a secure area.

a. Detainees/ Inmates housed in Disciplinary Confinement do not have
physical access to the law library. Legal material will be made
available in every disciplinary confinement mod/cellblock. Access to
the legal cart/law books is by Law Library Request Form only. The
disciplinary confinement officer will schedule time to allow
disciplinary confinement inmates to access the legal material
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requested. Access to the legal materials will not take the place of or be
in lieu of recreation time out of cell.

b. Detainees/Inmates housed in Disciplinary Confinement will be
allowed direct “in-person” access to an inmate law clerk. The request
will be made by Law Library Request Form. These forms will be
made available in the disciplinary confinement mod/cellblock. An
inmate law clerk will be permitted to enter the disciplinary
confinement area to assist the inmate housed in Disciplinary
Confinement. This access will not occur while inmates on
disciplinary confinement are on recreation.

For more information on inmate access to legal materials, please refer to the
most recent version of RIDOC Policy 13.03 DOC; Access to the Courts and

Legal Materials.

 

10. CHANGE OF STATUS (Review and Response)
a, Administrative Restrictive Status (ARS)

(1) Inmates may write the facility Warden/designee after thirty
(30) days on status and request removal from status. The
Warden/ designee shall base his/her decision on the inmate's
conduct and staff reports.

(2) The inmate will be provided with a written response
approving or denying his/her request within ten (10) days of
reviewing the request.

b. Transitional Confinement

An inmate’s classification is reviewed at least once every ninety (90)
days or sooner. Inmates are notified one (1) month in advance of their
reclassification hearing date.

Inmates may request, in writing, a review of their classification
sooner. For more information on the classification process, please see
the most recent version of RIDOC Policy 15.01 DOC; Classification
Process.

CG Disciplinary Confinement

 

(1) In addition to the Warden’s Review (as outlined in the most
recent version of RIDOC Policy 11.01 DOC; Code of Inmate
 

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Discipline, inmates may also write’ the facility
Warden/ designee after being discipline-free for forty-five (45)
days to request a suspension of his/her remaining disciplinary
confinement time. The Warden/designee shall base his/her
decision on the inmate’s conduct, staff reports and any other
relevant information.

NOTE: The Warden/designee may consider suspension
and/or step-down to LOP status.

NOTE: Staff may recommend a review of an inmate’s
status as any time.

(2) The Warden/designee shall provide the inmate with a
written response approving or denying his/her request
within ten (10) days of reviewing the request.

(3) | Wardens/Deputy Wardens shall make cell-to-cell visits in
the disciplinary confinement unit no less than once every
month.

NOTE: For the notification and review process regarding
detainees/inmates in Disciplinary Confinement, please refer to
the most recent version of RIDOC Policies 11.01 DOC, Code of
Inmate Discipline and 18.43 DOC, Health Evaluation of Inmates
in Administrative / Disciplinary Confinement.

(4) | Suspension of Remaining Disciplinary Confinement Time

(a) An inmate/detainee may have some or all of his/her
remaining disciplinary confinement time suspended
or commuted in one of the following ways:

i. Upon recommendation of Mental
Health/Medical staff. The Mental
Health/Medical staff may recommend to the
facility Warden or designee to suspend a
portion or the remaining disciplinary
confinement time for medical/mental health
reasons.

ii. Upon _ recommendation of custodial staff or
area supervisor. The area correctional staff may
recommend to the facility Warden or designee
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to suspend a portion or the remaining
disciplinary confinement time based on an
observed improvement in the
inmate/detainee’s behavior while housed in
disciplinary confinement.

iii. Upon _inmate/detainee_written request. The
inmate/detainee serving the disciplinary
confinement time who has been discipline-free
for forty-five days (45) may write to the facility
Warden or designee to suspend a portion or
the remaining disciplinary confinement time.

iv. Upon scheduled long-term review. The
facility Warden/ designee may, at his or her
discretion, suspend or commute a portion
of the remaining disciplinary confinement
time during the scheduled long-term
review process.

(b) The Warden may utilize the following when
considering suspension of disciplinary confinement
time:

i. Severity of Original Infraction
ii. Inmate’s Discipline History

iii. Staff Recommendation of inmate’s behavior
iv. Inmate and Family Letters

Vv. Demonstrated positive behavior

vi. Interview with inmate

vii. Additional Inmate Reports (i.e. Classification,
SIU, Inspectors, Intelligence, etc.)

(c) |The Warden's decision shall be in writing and shall
include the following:

i. Denial of the request due to a factor that is
explained in the response letter. The inmate
shall be provided with a date to reapply for
reconsideration.

ii. Approval of the request with the following
restrictions:
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e Return to normal status

e Return to Administrative Restrictive Status
for a defined period of time

e Return to Normal Status/ ARS but
program attendance is required

(d) Records of these requests and responses are
maintained by the Warden/designee in the inmate
discipline module in INFACTS.

d. Administrative Confinement

An inmate’s classification is reviewed at least once every ninety
(90) days or sooner if recommended by the facility Warden after
meeting with security and programming staff. Inmates are
notified one (1) month in advance of their reclassification hearing
date.

Inmates may request a review of their classification sooner. Such
requests shall be made in writing to the Director, ADIO and/or
Associate Director of Classification. For more information on the
classification process, please see the most recent version of RIDOC
Policy 15.01 DOC; Classification Process.

e, Administrative Detention
(1) Initial Review:

A superior officer conducts an initial review with the detainee
within five (5) working days of his/her transfer to
Administrative Detention.

(2) Subsequent Reviews:

The facility Warden conducts a thirty (30) day review, with a
referral to the ADIO to review every ninety (90) days.

(3) If a detainee remains in Administrative Detention for more
than thirty (30) days, a Behavioral Health Services staff
member shall make a mental health assessment (including
progress notes in the electronic medical record [EMR]) at least
every thirty (30) days thereafter, or more often as clinically
indicated. (For more information, please refer to the most
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recent version of RIDOC Policy 18.43 DOC; Health Evaluation
of Inmates in Administrative or Disciplinary Confinement.)

(4) | Removal from Administrative Detention:

(a) The facility Warden/designee instructs the Shift
Commander to remove the detainee from
Administrative Detention status, and instructs the
Count Officer to document the removal in INFACTS.

(b) The Count Officer ensures the detainee’s status is

accurately reflected on the “Events” screen in
INFACTS.

f. Administrative Transfer

The Associate Director of Classification determines if the inmate’s
administrative transfer warrants an Administrative Transfer
Classification Hearing.

If the Associate Director of Classification determines a hearing is
watranted, s/he shall notify the inmate through his/her counselor.

g. Residential Treatment Unit

Inmates in the RTU are assessed on an on-going basis by Behavioral
Health Services staff.

Behavioral Health Services staff determines when inmates have
completed treatment and when they will return to their classified
facility. Behavioral Health Services staff shall note the inmate’s
completion of treatment in the EMR and notify security staff. The
inmate’s placement back into his/her classified facility shall be
documented in INFACTS by the Count Board Officer upon transfer.

Cc Reduction of Privileges (Disciplinary Confinement Only)
No detainee/inmate, while in Disciplinary Confinement, is to have his/her
minimum privileges reduced (any item or activity allowed under the minimum

privileges provisions) subject to the following:

1. Whenever a Shift Commander determines there is danger that an inmate
has or will destroy items required to be furnished, or that an inmate may

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be injurious to himself or others, some or all of the minimal privileges
may be denied.

 

2: Upon removal of any minimal entitlement, a Reduction of Privileges Form
shall be completed and forwarded to the Warden/ designee by the end of
their shift.

3 Upon receipt of a completed Reduction of Privileges Form, the Warden or

 

designee shall arrange for Behavioral or Health Care services to visit the
inmate as soon as possible.

a. Any recommendations made by Behavioral or Health Care Services
shall be taken under consideration and discussed with the Case
Management Team.

b. Recommendations made that indicate the inmate has a chronic or

acute disorder that may be negatively affected by the reduction of
privilege(s) shall be immediately addressed.

c The Warden/ designee shall be notified immediately after the issue
has been addressed.

4, In all cases where minimal privileges are reduced, they shall be restored
(incrementally or fully as determined by the Case Management Team) as
soon as it appears to be consistent with the safety of the unit and the
inmate.

D. Recreation (General Information)
RIDOC affords maximum recreational opportunities for inmates consistent with

the secure and orderly operation of all facilities. Recreational opportunities consist
of both active and passive activities, including but not be limited to the following:

A Active:

a, Gross motor activities (e.g., team sport activities)

b. Access to strength training and cardiovascular equipment
2, Passive:

a. Playing cards

b. Board games

e. Television viewing

d. Listening to radios/ music

e. Reading libraries and/or book collections
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f. Avocational programs such as _ painting/drawing, creative

writing, etc. may be made available on a part-time basis in all
facilities when consistent with the needs and orderly operation of
each facility.

3. Inmates confined to infirmaries are afforded the opportunity for

recreation including exercise. The amount and type of exercise may be
limited by doctor's order.

4. Each facility affords all general population inmates access to activities on a
routinely scheduled basis consistent with the orderly operation of that
facility. Access is defined in terms of daily minimal out-of-cell times as set

 

 

 

 

 

 

 

 

 

 

 

 

forth by each facility:
Facility Minimal Out-of-Cell Time
Intake Service Center 6.25 hours
Intake Service Center
(Protective Custody inmates who are 10 hours
sentenced and classified)
High Security Center
(Protective Custody Only) aes
Maximum Security 8.5 hours
Medium Security 10 hours
Women’s Facility 13 hours
Minimum Security 10 hours
5. The above schedule accommodates access to both indoor and outdoor

recreation opportunities on a seasonal and “weather permitting” basis.

6. Alterations to the above schedule may occur as a result of emergencies or
other overriding conditions. The schedule will be restored as soon as
' practicable within the safe and orderly operation of the facility.

a. Any disruption or alteration to this schedule is noted, consistent with
the most recent version of RIDOC Policy 9.05 DOC, Institutional Log
Book System, and facility-specific log book procedures.

b. The facility Warden or designee is notified of disruptions/ alterations.

Cc. All efforts are made to restore the normal schedule as soon as
possible.
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Authorized Items in Cells
Items Not Listed uire Common Sense

sets each

2

Album with Pictures (25 photos / not to exceed 4 x 6)
i No
2

Material

fo be in
distribute and retrieve razors

 
